     Case 1:24-cv-10181-WGY Document 6-2 Filed 02/08/24 Page 1 of 2




           Appellate Division of the Supreme Court
                     of the State of New York
                  Fourth Judicial Department


     I, Ann Dillon Flynn, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Fourth Judicial
Department, do hereby certify that

                    Ryan Christian Altieri
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on June 17, 2019,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Rochester on
                            February 7, 2024.




                                  Clerk of the Court


CertID-00159567
              Case 1:24-cv-10181-WGY Document 6-2 Filed 02/08/24 Page 2 of 2

                                NEW YORK STATE SUPREME COURT
                            APPELLATE DIVISION, FOURTH DEPARTMENT
                               M. DOLORES DENMAN COURTHOUSE
                                    50 EAST AVENUE, SUITE 200
                                   ROCHESTER, NEW YORK 14604
ANN DILLON FLYNN                  (585) 530-3100 Fax (585) 530-3247                      ALAN L. ROSS
 CLERK OF THE COURT                                                                  DEPUTY CLERK OF THE COURT




    To Whom It May Concern


          An attorney admitted to practice by this Court may request a certificate of
    good standing, which is the only official document this Court issues certifying to an
    attorney's admission and good standing.


           An attorney's registration status, date of admission and disciplinary history
    may be viewed through the attorney search feature on the website of the Unified
    Court System.


              New York State does not register attorneys as active or inactive.


          An attorney may request a disciplinary history letter from the Attorney
    Grievance Committee of the Fourth Judicial Department.


          Bar examination history is available from the New York State Board of Law
    Examiners.


              Instructions, forms and links are available on this Court's website.




                                                        Ann Dillon Flynn
                                                        Clerk of the Court




    Revised September 2021
                                      www.courts.state.ny.us/ad4
